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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION
                                           x
                                            :
MARK ROBINSON, on behalf of                 :
himself and all others similarly situated, :  Case No. 4:24-cv-391-AW-MAF
                                           :
           Plaintiff,                               CLASS ACTION
                                           :
v.                                         :   AMENDED CLASS ACTION
                                           :          COMPLAINT
TRULIEVE INC.,                             :
                                           :  DEMAND FOR JURY TRIAL
           Defendant.                      :
                                           x
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           Plaintiff Mark Robinson, on behalf of himself and all others similarly situated,

brings the following Amended Class Action Complaint (the “Action”) against

Defendant Trulieve Inc. (“Trulieve”), for actual damages, treble damages,

declaratory and injunctive relief, costs of suit, pre- and post- judgment interest and

reasonable costs and attorneys’ fees, and other relief upon personal knowledge as to

himself and his own actions, and upon information and belief, including the

investigation of his counsel, as follows:

      I.        INTRODUCTION



                                   Your privacy is important to us.

                                        Trulieve Privacy Policy1



           1.     The consumption of marijuana, especially in the medicinal context, is

a highly sensitive and private act. Marijuana consumption is highly stigmatized,

even in states where using marijuana is legal for medical and/or recreational

purposes. Dispensaries carry significant responsibility to safeguard the privacy of

their consumers, who often entrust extremely personal information to dispensaries’

care in the course of purchasing marijuana products.



1
    https://www.trulieve.com/privacy, (last accessed Sept. 16, 2024).



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          2.     Trulieve is the largest medical marijuana dispensary conglomerate in

the State of Florida and markets and sells marijuana to consumers across the United

States. As one of the United States’ largest purveyor of marijuana products, Trulieve

knows, or should know, the importance of protecting its customers’ privacy.

Trulieve admits on its own website that customers’ privacy “is important.”

However, on Trulieve’s website (Trulieve.com) and mobile application, where

medical marijuana patients seek to find relief for painful (and sometimes terminal)

illnesses, Trulieve permits an astounding number of third-party companies2 to

deploy tracking or cookie technology that monitor visitors’ every move. Thus, in

addition to being a major seller of marijuana products, Trulieve is also a major seller

of customer information. While Trulieve is very much a marijuana company, it is

very much also a data processor. The data and knowledge that Trulieve has –

whether certain individuals are cannabis users – is highly valuable to other cannabis

companies and ancillary cannabis businesses. This is especially true with respect to


2
    These companies are:

Ad trackers (code on websites containing advertising technology to build advertising profiles or to identify
visitors of websites) include but not limited to: eyeota Limited, IPONWEB Gmbh, PubMatic, Inc.,
Alphabet, Inc., Zeta Global, Twitter, Inc., Oracle Corporation, LiveIntent Inc., Telaria, Index Exchange,
Inc., Adform A/S, Adobe, Inc., OpenX Technologies Inc., LiveRamp Holdings, Inc. Adelphic, Inc.,
Neustar, Inc., Media.net, Advertising FZ-LLC, The Trade Desk, Inc., Microsoft Corporation, Beeswax and
Magnite, Inc.

Third-party cookies (code on websites used by advertising tracking companies to profile users based on
internet usage) include but not limited to: Index Exchange, Inc., eyeota Limited, Collective Roll, Trade
Desk, Inc., Twitter, Inc., Adelphic, Inc., Zeta Global, Alphabet, Inc., Adobe, Inc., Beeswax, LiveRamp
Holdings, Inc., Microsoft Corporation, IPONWEB Gmbh and Magnite, Inc.



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the provision of medical services through the sale of marijuana in states where

marijuana is only legal for medicinal purposes.

          3.      In the course of doing business to provide these medical services,

Trulieve collects personally identifiable information (“PII”) and sensitive protected

health information (“PHI”) through the Trulieve website and mobile application.

The PII and PHI that Trulieve collects includes but is not limited to: internet protocol

address (which can reveal users’ location), information about medical marijuana

purchases and activity on the Trulieve website and mobile application, and physical

location using geolocation data.3 And while Trulieve states that it collects this

information in its Privacy Policy, it does not disclose that it is selling medical

information – including the fact that users are browsing and buying marijuana for

medical purposes – to advertisers like Google, Oracle, and Microsoft.

          4.      Marijuana consumers, and, especially, medical marijuana patients, like

any other medical patients needing any other medication, have a fundamental right

to privacy. These patients would not assume that upon entering a brick-and-mortar

dispensary, their movements were being monitored and records of their activities

sold to third parties for advertising. And thus these patients also do not assume that

when they digitally walk into Trulieve, by visiting Trulieve’s website to browse and

purchase marijuana products online, that Trulieve has invited 20+ other companies


3
    https://www.trulieve.com/privacy, (last accessed Sept. 16, 2024).


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to monitor them and use their most personal information (their use of marijuana) for

advertising purposes. Moreover, for many marijuana users – they fear potential

repercussions of their family, their employer, or the federal government finding out

that they use cannabis: a product which is still federally illegal.

         5.     When using the Trulieve website and/or mobile application, Plaintiff

did not consent to the use of extensive tracking technology that would transmit PII

and PHI to dozens of corporations scattered throughout the digital world. Against

this backdrop, Plaintiff, on behalf of himself and all others similarly situated, brings

this Action, seeking actual damages, statutory damages, treble damages, declaratory

and injunctive relief, costs of suit, pre- and post-judgment interest and reasonable

costs and attorneys’ fees under state law and the doctrine of unjust enrichment.

   II.        JURISDICTION AND VENUE

         6.     Subject Matter Jurisdiction. This Court has subject matter jurisdiction

pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d).

The amount in controversy exceeds the sum of $5,000,000 exclusive of interests and

costs, there are well over 100 putative Class members, and minimal diversity exists

because one or more putative Class members are citizens of a different state than at

least one Defendant.

         7.     Personal Jurisdiction.   This Court has personal jurisdiction over

Defendant because its headquarters is located in the state of Florida – specifically,



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in this District. Additionally, this Court has personal jurisdiction over Defendant

because Defendant intentionally availed itself of this jurisdiction by choosing to do

business in Florida. Defendant Trulieve has over 100 locations in Florida, serving

over 100,000 patients, and Trulieve knew or should have known that their tracking

technologies were being used to intercept the actions of Plaintiff and Class members

on the Trulieve website.

          8.      Venue. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)

because the Defendant Trulieve is located in this District, the Defendant conducts

business in this District, and a substantial part of the events, acts and omissions

giving rise to Plaintiff’s claims occurred in this District.

   III.         PARTIES

          Plaintiff Mark Robinson

          9.      Plaintiff Mark Robinson is a Florida resident domiciled in Brevard

County.

          Defendant Trulieve, Inc.

          10.     Defendant is a Florida corporation with its U.S. headquarters located

at 6749 Ben Bostic Road, Quincy, Florida 32351.

          11.     Trulieve is the largest marijuana dispensary conglomerate in the State

of Florida, with over 130 locations and six processing facilities. Trulieve’s 2023

revenue was $1.129 billion.



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       12.    Trulieve also operates dispensaries in eight other states (Arizona,

Pennsylvania, West Virginia, Georgia, Maryland, Ohio, Connecticut and

Colorado). Currently, Trulieve operates 192 dispensaries spread throughout the

states in which it is licensed to sell marijuana products and has 16 U.S. processing

facilities.

       13.    According to Trulieve, “[Trulieve is] able to collect and analyze data

to discern customer preferences, patterns and trends” which “inform…

production[,] product allocation, promotional strategies and targeted outreach.”4

                                  Factual Allegations

    A. Marijuana in the United States

       14.    In the United States, cannabis-derived products were commonly used

as medicine for ailments and chronic pain during the 19th and into the 20th century.

But in 1937, with the passage of the “Marihuana Tax Act,” the federal government

imposed stringent federal restrictions on the use and sale of cannabis in the U.S.

And, from about 1937 through the mid-1990’s, cannabis consumption of any kind

was more-or-less forbidden throughout the U.S.

       15.    Throughout this period of time, cannabis consumption developed a



4
 Trulieve Cannabis Corp., Form 10-K (2023), available at
https://app.quotemedia.com/data/downloadFiling?webmasterId=101533&ref=318116443&type=HTML&
symbol=TCNNF&cdn=39b20d549f73f87d2eb2a0126efc764a&companyName=Trulieve+Cannabis+Corp
+%28Sub+Voting%29&formType=10-K&dateFiled=2024-02-29, (last accessed Sept. 18, 2024).



                                            6
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negative stigma and was (and is) used as a pretext to arrest predominantly men and

women of color in many places throughout the country.5 These pretexts and

divisions along racial lines still have not faded.

        16.     In 1996, California became the very first state to allow the

consumption of cannabis for medicinal purposes. Since then, most states have

legalized medical marijuana use. Additionally, several states have legalized

cannabis consumption – though with differing rules on specific types of

consumption – for recreational use, beginning with Washington and Colorado in

2012.

        17.     The current patchwork of state-by-state cannabis consumption laws

appears as follows:




5
 See, e.g., Amanda Geller et al., Pot as Pretext: Marijuana, Race, and the New Disorder in New York
City Street Policing, 7 J. of Empirical Legal Studies 591 (2011); Maha N. Mian et al., Policing Pot: State-
Level Cannabis Arrests Increase Perceived Risks and Costs but Not Use, 5 Cannabis 40 (2022); Alex
Kreit, Marijuana Legalization and Pretextual Stops, 50 Univ. of Cal. L. Rev. 741 (2017).


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      18.      In a very short amount of time, cannabis has been effectively legalized

in state markets across the country. This drastic and rapid change in policy left many

previously barred entrants rushing to get a piece of this newly formed legal market

for cannabis.

   B. Trulieve’s Business and Invasions of Privacy

      19.      Trulieve is one of the largest owners and operators of cannabis

dispensaries in the United States. Trulieve currently operates in:

            a. Arizona (recreationally legal),

            b. Colorado (recreationally legal),



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                c. Connecticut (recreationally legal),

                d. Florida (medicinally legal),

                e. Georgia (limited products allowed for resale),

                f. Maryland (recreationally legal),

                g. Ohio (medicinally legal), Pennsylvania (medicinally legal) and

                h. West Virginia (medicinally legal).

          20.      In each of these states, as well as from any state in the United States,

consumers can access Trulieve’s range of products through its website as well as

through its mobile application.

          21.      In the course of doing business to provide medical marijuana to

patients, Trulieve collects PII and PHI through the Trulieve website and mobile

application. This includes, but is not limited to: name, postal address, internet

protocol (“IP”) address, information regarding patients’ visits to the Trulieve

website and mobile application, as well as physical geolocation data. Trulieve also

collects medical marijuana card number, physician name, and other information

about medical marijuana use from patients with medical marijuana cards.

          22.      According to Trulieve’s Privacy Policy, “[y]our privacy is important

to us” and “Trulieve does not share [] personal information with third parties for

business purpose[s].”6 However, the reality is much darker.


6
    https://www.trulieve.com/privacy, (last accessed, Sept. 19, 2024).


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      23.    Trulieve falsely represents that the only third party it shares

information with is the Florida Department of Health’s Compassionate Use

Registry. Specifically, Trulieve’s Privacy Policy states:

      Third Party Disclosure

      Do we disclose the information we collect to Third Parties?

      In order to make an online product reservation, patient’s information and ID
      must be confirmed with the Florida Department of Health’s Compassionate
      Use Registry.

      24.    For    California   residents,     Trulieve   discloses   that   it   shares

“Internet/Network Activity” and geolocation data with unspecified “AdTech

companies” for the purpose of “Providing advertising or marketing services,

providing analytic services,” and “website and app analytic purposes.” This

disclosure is provided under the heading, “Your California Privacy Rights”

alongside a disclaimer that the disclosure “applies solely to California consumers.”

Trulieve’s deficient disclosure implies that (1) only California residents’

information is being provided to unnamed “AdTech companies” and (2) the

information is being provided so that Trulieve can advertise products and services

to those California residents, not for third-party advertising purposes.

      25.    Trulieve’s representations are false.

      26.    Rather than protect the sensitivity of customers’ highly valuable PII

and PHI, Trulieve instead opts to monetize it and sell it to third party advertisers for



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their business purposes. Those advertisers intercept Plaintiff and Class members’

information when they use the Trulieve website and mobile application.

      27.      This is how the third-party advertisers intercept users’ information:

Trulieve places or allows to be placed onto its website different types of code that

are intended to and do collect the data that users input into the website and/or data

evidencing consumers’ use of the website, in combination with users’ identifying

information (such as IP address and, for certain trackers, other unique identifiers).

This practice runs contrary to state and federal law, to commonly accepted practices

with respect to the sanctity of PHI, and to Defendant’s privacy policy which

expressly disclaims that such conduct takes place.

      28.      The trackers that Trulieve has placed or allowed to be placed on its

website belong to the following entities:

            a. Ad trackers (code on websites containing advertising technology to

               build advertising profiles or to identify visitors of websites) include but

               not limited to: eyeota Limited, IPONWEB Gmbh, PubMatic, Inc.,

               Alphabet, Inc., Zeta Global, Twitter, Inc., Oracle Corporation,

               LiveIntent Inc., Telaria, Index Exchange, Inc., Adform A/S, Adobe,

               Inc., OpenX Technologies Inc., LiveRamp Holdings, Inc. Adelphic,

               Inc., Neustar, Inc., Media.net, Advertising FZ-LLC, The Trade Desk,

               Inc. Microsoft Corporation, Beeswax and Magnite, Inc.



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            b. Third-party cookies (code on websites used by advertising tracking

               companies to profile users based on internet usage) include but not

               limited to: Index Exchange, Inc., eyeota Limited, Collective Roll, Trade

               Desk, Inc., Twitter, Inc., Adelphic, Inc., Zeta Global, Alphabet, Inc.,

               Adobe, Inc., Beeswax, LiveRamp Holdings, Inc., Microsoft

               Corporation, IPONWEB Gmbh and Magnite, Inc.

      29.      Other than the aforementioned trackers and third-party cookies placed

on Trulieve’s homepage, a concerning number of trackers can be found on

Trulieve’s website in other locations that obtain PII and PHI:

            a. On Trulieve’s informational page about acquiring a medical marijuana

               card, there are eight different ad trackers and at least 20 different third-

               party cookies.

            b. On Trulieve’s page called “Find a Doctor”, there are 29 different ad

               trackers and at least 59 different third-party cookies.

            c. On Trulieve’s “Frequently Asked Questions” page that lists the various

               conditions that qualify for medical marijuana usage, there are 29

               different ad trackers and at least 52 different third-party cookies.

            d. Trulieve accountholders’ account pages, where consumers with

               medical marijuana cards can enter information including Medical ID

               number, issuing state, issuing date, and physician names, also include



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             numerous trackers and cookies. The same is true for Trulieve

             accountholders’ wishlists and order histories.

      30.    The widespread use of ad trackers and third-party cookies on

Trulieve’s website, especially the informational pages that contain health

information, would shock any reasonable consumer. When consumers visit the

Trulieve website and they do not accept the take-it-or-leave-it “cookie” disclosure,

that disclosure critically: (1) does not disclose the number of cookies or where user

PII and PHI is being sent, (2) does not disable the use of cookies on the Trulieve

website and (3) does not disclose the retention and deletion schedule attached to the

user’s data acquired from the ad trackers and third-party cookies.

      31.    While the Privacy Policy acknowledges the collection of some

information on its website, it: (1) does not explain or describe exactly what PII and

PHI is intercepted by the advertisers, (2) fails to disclose to which advertisers the

PII and PHI is sold or how that information is to be used, the nature of the recipients’

retention and deletion schedules, and how the PII and PHI will be protected and (3)

forces consumers to opt-out through a cumbersome process as opposed to an opt-in

process. At no point does the Privacy Policy make clear that Trulieve is selling

extensive quantities of consumer data to dozens of third-party companies for their

own unspecified uses.

      32.    Logically, Trulieve knew or should have known that by embedding



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code, it was disclosing and permitting advertisers to intercept and collect

information shared by its website users, including the PII and PHI of Plaintiff and

Class members. This is because the code used in this scenario needed to be

affirmatively and intentionally placed on the website in order to be used in the way

as described herein. The code’s entire purpose is to monetize data about Trulieve’s

customers, and there can be no doubt that the code on the website collects PII and

PHI and transmits it to third-party advertisers.

      33.    By repackaging and selling information about consumer medical

marijuana usage and purchase, Trulieve’s violates reasonable consumer

expectations for how Trulieve will treat sensitive medical information. The Health

Insurance Portability and Accountability Act of 1996 (“HIPAA”), which was

passed in 1996, sets a floor for the care that healthcare providers in Florida and

across the country are expected to provide in handling patient information.

Consumers reasonably expect that healthcare providers will handle their private

health information in accordance with HIPAA requirements, including by

refraining from sharing that information with ad tech companies. Additionally, by

receiving ill-gotten private data, especially valuable PII in combination with PHI,

the advertisers each served as a conduit for Trulieve to monetize this precious and

private information.

      34.    In fact, in December 2022, the United States Department of Health and



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Human Services (“HHS”) issued a revised bulletin “to highlight the obligations” of

healthcare providers under the HIPAA Privacy Rule “when using online tracking

technologies” such as those used by Trulieve, which “collect and analyze

information about how internet users are interacting with a regulated entity’s

website or mobile application.” The bulletin was updated in 2024.7

       35.     In the bulletin, HHS confirmed that HIPAA applies to healthcare

providers’ use of tracking technologies like those developed and used by Trulieve

on trulieve.com. Among other things, HHS explained that healthcare providers

violate HIPAA when they use tracking technologies that disclose an individual’s

identifying information, even if no treatment information is included and even if the

individual does not have a relationship with the healthcare provider:

       How do the HIPAA Rules apply to regulated entities’ use of tracking
       technologies?

       Some regulated entities may be disclosing a variety of information to
       tracking technology vendors through tracking technologies placed on
       the regulated entity’s website or mobile app, such as information that
       the individual types or selects when they use the regulated entities’
       website or mobile apps. The information disclosed might include an
       individual’s medical record number, home or email address, or dates of
       appointments, as well as an individual’s IP address or geographic
       location, device IDs, or any unique identifying code. In some cases, the
       information disclosed may meet the definition of individually
       identifiable health information (IIHI), which is a necessary pre-
       condition for information to meet the definition of PHI when it is

7
  U.S. Dep’t of Health and Human Servs., Use of Online Tracking Techs. By HIPAA Covered Entities and
Bus. Assocs. (2024), https://www.hhs.gov/hipaa/for-professionals/privacy/guidance/hipaa-online-
tracking/index.html.


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      transmitted or maintained by a regulated entity.

      IIHI collected on a regulated entity’s website or mobile app generally
      is PHI, even if the individual does not have an existing relationship with
      the regulated entity and even if the IIHI, such as in some circumstances
      IP address or geographic location, does not include specific treatment
      or billing information like dates or types of healthcare services.


      36.    Additionally, HHS further clarified that HIPAA applies to healthcare

providers with tracking technologies even on webpages and on mobile applications

that do not require patients to login. This HHS bulletin did not create any new

obligations, but instead highlights obligations that have been in place for decades.

Reasonable consumers would expect that Trulieve would comply with these

obligations with regard to information about the purchase of medical marijuana.

      37.    A reasonable consumer has an expectation of privacy each time they

visit the Trulieve website and/or mobile application. Trulieve collects PII and PHI

from its consumers and consumers rightly presume that this PII and PHI is going to

be protected from unauthorized third parties. Specifically, Trulieve collects the

following PII each time a consumer shops online using the Trulieve website and/or

mobile application: (1) username (if they login and make purchases) and the

information associated with that username, (2) internet protocol address, and (3) the

activities that occur on the website and/or mobile application that are unique to that

specific visitor. Additionally, Trulieve collects PHI every time someone shops in its

online dispensary: (1) the fact that the respective website and/or mobile application

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user is medical marijuana user (which means they use a specific type of medication

– marijuana), and (2) the fact that the respective user has a medical condition which

is recognized as the type of illness or chronic pain that medical marijuana is used to

remediate. Trulieve also often collects information about users’ medical marijuana

cards, including physician information and card number.

      38.      When a Trulieve customer interacts with the Trulieve website or mobile

application, they are seeking care for their present or future healthcare ailments as

well as working to pay for healthcare products – here, cannabis.

   C. The Value of Data and Consumer Harm

      39.      Plaintiff and Class members were harmed when Trulieve invaded their

privacy rights by selling data about their marijuana consumption, including medical

marijuana consumption, to third parties.         Reasonable consumers, including

Plaintiff, would not have used the Trulieve.com website had they known that their

privacy rights would be violated as a result.

      40.      PII and PHI, including PII and PHI tied to medical marijuana-related

information, is extremely valuable.

      41.      There is a huge market for health data like the data disclosed to

Trulieve on its website. Plaintiff and Class members suffered pecuniary losses

when Trulieve sold and resold their data to third parties because of the value of the

data itself.    Without the freedom to control what becomes of their data,



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Trulieve.com users are unable to maintain the value of their personal data and use

it for whatever purposes they please (or for no purpose other than for health

treatment, if they so choose).

       42.     The value of consumers’ PII and PHI is axiomatic. When

cybercriminals steal PII and PHI like the information Trulieve sold to its third-party

business partners, the criminals face huge fines and lengthy prison sentences.

Organizations across every sector use and monetize consumer data to increase

profits.8 And the value of PII and PHI as a commodity is measurable. As stated in

“Exploring the Economics of Personal Data,” “[f]irms are now able to attain

significant market valuations by employing business models predicated on the

successful use of personal data within the existing legal and regulatory

frameworks.” Consumer personal information is so valuable to identity thieves that

once PII and PHI has been disclosed, criminals often trade it on the “cyber black-

market,” or the “dark web,” for many years.

       43.     Consumers “have good reason to worry about data security” according

to law firm Foley Hoag.9 Cybercriminals have successfully targeted medical

marijuana databases on multiple occasions, including major breaches in 2016


8
  See, e.g., Sunil Yadav, The True Value of Big Data: What It Does For Your Business, Baseline (May 31,
2023), https://www.baselinemag.com/uncategorized/the-true-value-of-big-data-what-it-does-for-your-
business/.
9
  https://foleyhoag.com/news-and-insights/blogs/cannabis-and-the-law/2017/march/marijuana-and-
privacy-a-primer/, (last accessed Sept. 19, 2024).



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(Washington State Liquor and Cannabis Board and the Nevada Division of Public

and Behavioral Health) and 2017 (a compliance system called MJ Freeway, which

is used by medical dispensaries across the country in over 1000 different

dispensaries).10 According to Foley:


           When it comes to privacy, marijuana is different both as a product and
           as a medical treatment. While patient information of any kind must be
           safeguarded, there is a special sensitivity about marijuana use. Stigma
           about cannabis, as well as fears about federal oversi[ght], make
           marijuana-related data especially vulnerable to breaches. This
           sensitivity extends to the recreational marijuana industry. Few people
           look over their shoulder walking into a liquor store, but many customers
           think twice before walking into a dispensary. People are worried about
           data falling into the hands of the federal government, but also of their
           employers.
           …
           Right now, the needs of consumers and companies seem to be at odds
           – consumers want less data collection, while tech companies and
           investors want more.11

           44.   As the cannabis industry continues to grow in the United States, so too

are the desires of the advertising industry to profit off of the data that accompanies

demographic and personal information, as well as consumer interest and consumer

purchases.

       D. Plaintiff’s Experiences

           45.   Plaintiff is a medical marijuana patient that suffers from an ailment


10
     Id.
11
     Id.


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that the State of Florida legally recognizes as giving eligibility to medical marijuana

consumption in Florida.

      46.     On numerous occasions, Plaintiff has visited the Trulieve website,

Trulieve.com, to purchase medicinal marijuana for personal medical use.

      47.     Plaintiff did not know that their unique identifiers would be paired with

the fact that they seek marijuana for medical purposes in a way that could identify

Plaintiff to third party advertisers.    Plaintiff did not know that the data that

Trulieve.com collects would then be sold to dozens of entities for advertising

purposes.

      48.     Plaintiff’s unique identifiers are PII and Plaintiff’s online shopping for

medicinal marijuana is no different than the PHI collected by a pharmacy when a

patient seeks pain relief medication – only this time, the pain relief medication in

question are cannabis products. Because of this and because of the stigma attached

with medicinal marijuana usage in the United States, Plaintiff’s purchase of medical

marijuana is more sensitive than purchase information from non-medical, non-

marijuana websites.

      49.     Plaintiff’s data with respect to medicinal marijuana is highly valuable.

Indeed, this is the core reason why so many different corporations extract data from

Trulieve’s website.

   IV.      CLASS ALLEGATIONS



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         50.   Plaintiff brings this action pursuant to Federal Rule of Civil Procedure

23 individually and on behalf of the following Class:


         Nationwide Class: All natural persons in the United States who used
         the Trulieve.com website and/or mobile application and whose
         communications and/or data were shared with third parties.


         51.   In addition, or in the alternative, Plaintiff pleads the following Sub-

Class:


         Medical Marijuana Sub-Class. All natural persons in states where
         medical marijuana (not recreational use) is legal who used the
         Trulieve.com website and/or mobile application and whose
         communications and/or data were shared with third parties.

         52.   Excluded from the Class are: (1) any Judge or Magistrate presiding over

this action and any members of their immediate families; (2) the Defendants,

Defendants’ subsidiaries, affiliates, parents, successors, predecessors, and any entity

in which the Defendants or their parents have a controlling interest and their current

or former employees, officers, and directors; and (3) Plaintiff’s counsel and

Defendants’ counsel.

         53.   Numerosity. The exact number of members of the Class is unknown

and unavailable to Plaintiff at this time, but individual joinder in this case is

impracticable. The Class likely consists of millions of individuals, and the members

can be identified through Defendant’s records.



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      54.      Predominant Common Questions. The Class’s claims present common

questions of law and fact, and those questions predominate over any questions that

may affect individual Class members. Common questions for the Class include, but

are not limited to, the following:

            a. Whether Defendant violated Plaintiff’s and Class members’ privacy

               rights;

            b. Whether Defendant was unjustly enriched;

            c. Whether Defendant’s acts and practices violated state consumer

               protection laws;

            d. Whether Plaintiff and the Class are entitled to equitable relief, including

               but not limited to injunctive relief, restitution, and disgorgement; and,

            e. Whether Plaintiff and the Class are entitled to actual, statutory, punitive

               and/or other forms of damages, and other monetary relief.

      55.      Typicality. Plaintiff’s claims are typical of the claims of the other

members of the claims of Plaintiff and the members of the Class arise from the same

conduct by Defendant and are based on the same legal theories.

      56.      Adequate Representation. Plaintiff has and will continue to fairly and

adequately represent and protect the interests of the Class. Plaintiff has retained

counsel competent and experienced in complex litigation and class actions,

including litigations to remedy privacy violations. Plaintiff has no interest that is



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antagonistic to the interests of the Class, and Defendant has no defenses unique to

any Plaintiff. Plaintiff and their counsel are committed to vigorously prosecuting

this action on behalf of the members of the Class, and they have the resources to do

so. Neither Plaintiff nor their counsel have any interest adverse to the interests of

the other members of the Class.

        57.   This class action is appropriate for certification because class

proceedings are superior to other available methods for the fair and efficient

adjudication of this controversy and joinder of all members of the Class is

impracticable. This proposed class action presents fewer management difficulties

than individual litigation, and provides the benefits of single adjudication,

economies of scale, and comprehensive supervision by a single court.           Class

treatment will create economies of time, effort, and expense and promote uniform

decision-making.

        58.   Plaintiff may revise the foregoing class allegations and definitions

based on facts learned and legal developments following additional investigation,

discovery, or otherwise.

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   V.         CAUSES OF ACTION

                               FIRST CAUSE OF ACTION

                       COMMON LAW INVASION OF PRIVACY

                     (On behalf of Plaintiff and the Nationwide Class)

                                    (Against Defendant)

        59.     Plaintiff re-alleges and incorporates paragraphs 1 through 58 with the

same force and effect as if fully restated herein.

        60.     In Florida, a plaintiff asserting claims for invasion of privacy must

plead (1) that the defendant intentionally intruded into a place, conversation, or

matter as to which plaintiff has a reasonable expectation of privacy; and (2) that the

intrusion was highly offensive to a reasonable person.

        61.     Trulieve’s disclosure of Plaintiff’s and Class members’ sensitive data,

including PII, marijuana purchasing information and other interactions on the

website and mobile application to third parties violated Plaintiff’s and the Class

members’ privacy. Browsing for and purchasing marijuana on Trulieve’s website,

including medical marijuana, is a “matter.” Trulieve intruded on that “matter” when

it allowed that “matter” to be accessed by unauthorized third parties without

Plaintiff’s and the Class members’ consent. Trulieve’s conduct described herein

constitutes an intentional intrusion upon Plaintiff’s and Class members’ solitude or

seclusion.



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       62.    Plaintiff and Class members had a reasonable expectation of privacy in

the health information and other personal data that Trulieve disclosed to third parties.

Plaintiff’s marijuana purchases and shopping habits are inherently sensitive in

nature. Plaintiff and Class members reasonably expected this information would

remain private and confidential and would not be disclosed to third parties without

their consent.

       63.    This expectation is especially heightened given Trulieve’s consistent

representations to users that this information would be safeguarded and not disclosed

to third parties.

       64.    Plaintiff and Class members did not consent to, authorize, or know

about Trulieve’s intrusion at the time it occurred. Accordingly, Plaintiff and Class

members never agreed that Trulieve could disclose their data to third parties.

       65.    The surreptitious disclosure of sensitive data, including PII and

sensitive information from millions of individuals was highly offensive because it

violated expectations of privacy that have been established by social norms. Privacy

polls and studies show that the overwhelming majority of Americans believe one of

the most important privacy rights is the need for an individual’s affirmative consent

before personal data is collected or shared.

       66.    The offensiveness of this conduct is all the more apparent because

Trulieve’s disclosure of this information was conducted in secret in a manner that



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Plaintiff and Class members would be unable to detect, contrary to the actual

representations made by Trulieve.

          67.    As a result of Trulieve’s actions, Plaintiff and Class members have

suffered harm and injury, including but not limited to an invasion of their privacy

rights.

          68.    Plaintiff and Class members have been damaged as a direct and

proximate result of Defendant’s invasion of their privacy and are entitled to just

compensation, including monetary damages.

          69.    Plaintiff and Class members seek appropriate relief for that injury,

including but not limited to damages that will reasonably compensate Plaintiff and

Class members for the harm to their privacy interests as well as a disgorgement of

profits made by Trulieve as a result of its intrusions upon Plaintiff’s and Class

members’ privacy.

          70.    Plaintiff and Class members are also entitled to punitive damages

resulting from the malicious, willful, and intentional nature of Trulieve’s actions,

directed at injuring Plaintiff and Class members in conscious disregard of their

rights. Such damages are needed to deter Defendant from engaging in such conduct

in the future.

          71.    Plaintiff also seeks such other relief as the Court may deem just and

proper.



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                          SECOND CAUSE OF ACTION

                                   NEGLIGENCE

                      (On behalf of Plaintiff and Both Classes)

                                 (Against Defendant)

      72.    Plaintiff re-alleges and incorporates paragraphs 1 through 58with the

same force and effect as if fully restated herein.

      73.    Plaintiff and Class members gave Defendant sensitive, nonpublic

personal information. This information included both PII and PHI, as discussed

above.

      74.    While Trulieve’s conduct was intentional as alleged, it was at a

minimum (and in the alternative) negligent.

      75.    By collecting, storing, using and profiting from this data, Defendant

owed a duty of care to Plaintiff and Class members to exercise reasonable care in

keeping this information confidential.

      76.    Defendant had common law duties to prevent foreseeable harm to

Plaintiff and Class members. These duties existed because Plaintiff and Class

members were foreseeable and probably victims of any disclosure of this PII and

PHI sans consent.

      77.    Defendant’s duties to protected the confidentiality of Plaintiff’s and

Class members nonpublic information, including PII and PHI, also arose as a result



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of the special relationship that existed between Plaintiff and Defendant – here,

between patient and medical product provider. Defendant alone could have ensured

that it did not disclose the nonpublic personal information, including PII and PHI

without consumers’ consent.

      78.    Defendant knew or should have known that by integrating the tracking

technologies on Trulieve’s website and in Trulieve’s mobile application that it was

systemically disclosing PII and PHI to third parties.

      79.    But for Defendant’s conduct, Plaintiff’s and Class members’ PII and

PHI would not have been disclosed without consent. And, as a direct and proximate

cause of this conduct, Plaintiff and Class members have been injured and are entitled

to damages in an amount to be proven at trial.

      80.    Plaintiff and Class members seek to recover the value of the

unauthorized access to their PII and PHI resulting from Defendant’s wrongful

conduct. The measure of damages in this instance is analogous to the unauthorized

use of intellectual property. Like a technology covered by a patent or protected by

a trade secret, use or access to a person’s PII and PHI is non-rivalrous – the

unauthorized use by another does not diminish the rights-holders’s ability to practice

the patented invention or use the protected trade secret technology. Nevertheless, a

plaintiff may generally recover the reasonable use value of their most valuable

intellectual property: their PII and PHI. Especially here, where that PII and PHI’s



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release can result in terrible consequences for Plaintiff and Class members.

      81.    This measure is appropriate because (a) Plaintiff and Class members

have a protectable property interest in their PII and PHI; (b) the minimum damages

value for the unauthorized use of personal property is its rental value; and (c) rental

value is established with respect to market value (i.e., evidence regarding the value

of similar transactions). Put differently, the value of the data is equivalent to

whatever the unauthorized third parties pay for that respective data.

      82.    As such, Plaintiff seeks damages in an amount to be proven at trial.

      83.    Plaintiff also seeks such other relief as the Court may deem just and

proper.

                           THIRD CAUSE OF ACTION

VIOLATION OF FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES

                                        ACT

                 (On behalf of Plaintiff and the Nationwide Class)

                                  (Against Defendant)

      84.    Plaintiff re-alleges and incorporates by reference paragraphs 1 through

58with the same force and effect as if fully stated herein.

      85.    Defendants are considered “businesses” under state law.

      86.    Defendant’s business acts and practices are unfair and deceptive under

the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)



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      87.     FDUTPA       makes      illegal    unfair   methods      of   competition,

unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of any trade or commerce. Fla. Stat. § 501.204(1).

      88.     Florida (as well as other states through their respective unfair and

deceptive trade practices statutes) has a strong public policy of protecting

consumers’ privacy interests, including protecting consumers’ personal data.

Defendants violated FDUTPA by, among other things, disclosing and intercepting

Plaintiff’s and Class members’ sensitive data without consent.

      89.     Trulieve further engaged in unfair business practices because it made

material misrepresentations and omissions concerning the information that it

assured users it would not share with third parties, which deceived and misled users

of the Trulieve website and mobile application. Trulieve misrepresented and

concealed from consumers the nature of the data it was collecting, the transmission

of that data to third parties, the identities of the third parties, and the purpose of the

disclosure.

      90.     Trulieve also misrepresented and concealed the attributes of its take-

it-or-leave-it “cookie” disclosure, because that disclosure critically: (1) does not

disclose the number of cookies or where user PII and PHI is being sent, (2) does not

disable the use of cookies on the Trulieve website and (3) does not disclose the

retention and deletion schedule attached to the user’s data acquired from the ad



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trackers and third-party cookies. Defendant’s business acts and practices are also

“unfair” in that they are immoral, unethical, oppressive, unscrupulous, and/or

substantially injurious to consumers. The gravity of the harm of Defendants

secretly disclosing, intercepting, and misusing Plaintiff’s and Class members’

sensitive and highly valuable personal data is significant, and there is no

corresponding benefit resulting from such conduct. Finally, because Plaintiff and

Class members were completely unaware of Defendants’ conduct, they could not

have possibly avoided the harm.

      91.    By unlawfully disclosing and intercepting this data, Trulieve took

money or property from Plaintiff and Class members. Plaintiff and the Class

members suffered damages as a result of Trulieve’s FDUTPA violations.

      92.    Plaintiff and Class members seek all available damages including

statutory and treble damages as well as reasonable costs and attorneys’ fees.

                          FOURTH CAUSE OF ACTION

                             BREACH OF CONTRACT

                 (On behalf of Plaintiff and the Nationwide Class)

                                 (Against Defendant)

      93.    Plaintiff re-alleges and incorporates paragraphs 1 through 58with the

same force and effect as if fully restated herein.

      94.    Trulieve’s Privacy Policy is an agreement or an addendum to an



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agreement between Trulieve and each person who goes onto Trulieve’s website or

utilizes the Trulieve mobile application and provides Trulieve with PII and PHI.

      95.    The Privacy Policy provides information about what types of

consumer information will be shared and with what entities. Further, Trulieve

makes representations about how it protects about consumer privacy.

      96.    The Privacy Policy is a contract between Plaintiff and the Class

members, on the one hand, and Trulieve, on the other.

      97.    Trulieve breached its agreement with Plaintiff and Class members by

disclosing PII and PHI to unaffiliated third parties for marketing purposes, contrary

to the terms of the Privacy Policy, which states only that Trulieve provides

information to the Florida Department of Health’s Compassionate Use Registry

(and for California consumers only, states only a limited quantity of information is

shared with “AdTech companies”).

      98.    As a direct and proximate cause of these breaches of contract, Plaintiff

and Class members sustained actual losses and damages as described above,

including but not limited to that they did not get the benefit of their bargain for

which they paid, and that they were overcharged by Trulieve for its services, which

they understood to include the terms of the Privacy Policy.

      99.    Plaintiff and Class members request all forms of damages with respect

to these breaches of contract, including nominal damages.



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                             FIFTH CAUSE OF ACTION

                        BREACH OF IMPLIED CONTRACT

                   (On behalf of Plaintiff and the Nationwide Class)

                                 (Against Defendant)

         100. Plaintiff re-alleges and incorporates paragraphs 1 through 58with the

same force and effect as if fully restated herein.

         101. Plaintiff and Class members each respectively entered into an implied

contract with Trulieve when they accessed Trulieve’s website and/or mobile

application. Specifically, this implied contract is an agreement by Trulieve to

safeguard information given to them by Plaintiff and Class members: especially PII

and PHI. The existence of the Privacy Policy is evidence of the implied contract

between Plaintiff and the Class members, on the one hand, and Trulieve, on the

other.

         102. Plaintiff and Class members had a reasonable expectation that Trulieve

would keep their PII and PHI confidential. Additionally, Plaintiff and Class

members believed that Trulieve would use part of the monies paid to Trulieve in

order to keep their PII and PHI confidential.

         103. Plaintiff and Class members would not have provided nor entrusted

Trulieve with their PII or PHI, or would have paid less for its goods and services,

had they known that Trulieve had no intention of keeping this implied contract.



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      104. As a direct and proximate cause of Trulieve’s breach of implied

contract, Plaintiff and Class members sustained actual losses and damages as

described in detail above, including that they did not get the benefit of their bargain

for which they paid and were overcharged by Trulieve for its services.

      105. Plaintiff and Class members request all forms of damages with respect

to these breaches of implied contract, including nominal damages.

                             SIXTH CAUSE OF ACTION

                               UNJUST ENRICHMENT

                    (On behalf of Plaintiff and the Nationwide Class)

                                  (Against Defendant)

      106. Plaintiff re-alleges and incorporates paragraphs 1 through 58with the

same force and effect as if fully restated herein.

      107. This cause of action is pled in the alternative to the breach of contract

causes of action.

      108. Defendant received benefits from Plaintiff and Class members and

unjustly retained those benefits at their expense.

      109. Defendant received benefits from Plaintiff and Class members in the

form of the Plaintiff’s highly valuable data, including health information and PII,

that Defendant wrongfully disclosed and intercepted from Plaintiff and Class

members without authorization and proper compensation.



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      110. Defendant disclosed, intercepted, stored, and used this data for their

own gain, providing Defendant with economic, intangible, and other benefits,

including highly valuable data for analytics, advertising, and improvement of their

platforms, algorithms, and advertising services.

      111. Had Plaintiff known of Defendant’s misconduct, they would not have

provided any of their valuable data to Defendants or have used or paid to use the

Trulieve website or mobile application.

      112. Defendant unjustly retained these benefits at the expense of Plaintiff

and Class members because Defendant’s conduct damaged Plaintiff and Class

members, all without providing any commensurate compensation to Plaintiff and

Class members.

      113. The benefits that Trulieve derived from Plaintiff and Class members

rightly belong to Plaintiff and Class members. It would be inequitable under unjust

enrichment principles in every state for Defendants to be permitted to retain any of

the profit or other benefits they derived from the unfair and unconscionable

methods, acts, and trade practices alleged in this Complaint.

      114. Defendant should be compelled to disgorge profits into a common

fund for the benefit of Plaintiff and Class members all unlawful or inequitable

proceeds that Defendant received, and such other relief as the Court may deem just

and proper.



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                            SEVENTH CAUSE OF ACTION

ELECTRONIC COMMUNICATIONS PRIVACY ACT, 18 U.S.C. § 2510 et seq.

                  (On behalf of Plaintiff and the Nationwide Class)

                                  (Against Defendant)

      115. Plaintiff re-alleges and incorporates paragraphs 1 through 58 with the

same force and effect as if fully restated herein.

      116.    The Electronic Communications Privacy Act (“ECPA”) makes it

illegal intentionally to intercept, or attempt to intercept, any wire, oral, or electronic

communication and to disclose or use the contents of an unlawfully intercepted

communication. 18 U.S.C. § 2511.

      117. ECPA provides a private right of action to any person whose electronic

communications are intercepted. 18 U.S.C. § 2520(a).

      118. Trulieve intentionally intercepted electronic communications that

Plaintiff and the Class members exchanged with Trulieve through the tracking tools

installed on its website.

      119. The transmission of data between Plaintiff and the Class members and

Trulieve qualify as communications under ECPA. 18 U.S.C. § 2510(12).

      120. Trulieve contemporaneously intercepted and transmitted Plaintiff’s

and the Class members’ communications of that data to the dozens of advertising

technology company whose trackers Trulieve installed or allowed to be installed on



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its website.

      121. The cookies that Trulieve uses to track Plaintiff’s and the Class

members’ communications, Plaintiff’s and the Class members’ browsers, Plaintiff’s

and the Class members’ computing devices, and the code that Trulieve placed or

allowed to be placed on its website are all “devices” within the meaning of 18

U.S.C. § 2510(5).

      122. The ad tech companies that are the recipients of communications

between Plaintiff and the Class members, on the one hand, and Trulieve, on the

other, are not party to those communications.

      123. Trulieve transmits the contents of those communications through the

surreptitious redirection of the communications from Plaintiff’s and the Class

members’ computing devices.

      124. Plaintiff and the Class members did not consent to the ad tech

companies’ acquisition of their communications with Trulieve. Nor did the ad tech

companies receive legal authorization to receive such communications.

      125. In disclosing the content of Plaintiff’s and the Class members’

communications relating to the purchase and use of medical marijuana, Trulieve

had a purpose that was tortious, criminal, and designed to violate statutory and

constitutional privacy provisions including:

          a. The unauthorized disclosure of individually identifiable health



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            information is tortious in and of itself, regardless whether the means

            deployed to disclose the information violates the ECPA or any

            subsequent purpose or use. Trulieve intentionally committed a tortious

            act by disclosing individually identifiable health information without

            authorization to do so;

         b. Intrusion upon Plaintiff’s and the Class members’ seclusion;

         c. Trespass upon Plaintiff’s and the Class members’ personal and private

            property; and

         d. Violation of 18 U.S.C. §§ 1343 (fraud by wire, radio, or television)

            and 1349 (attempt and conspiracy) which prohibit a person from

            “devising or intending to devise any scheme or artifice to defraud, or

            for obtaining money or property by means of false or fraudulent

            pretenses, representations or promises, transmits or causes to be

            transmitted by means of wire, radio, or television communication in

            interstate … commerce, any writing, signs, signals, pictures, or sounds

            for purpose of executing such scheme or artifice.”

      126. The federal wire fraud statute, 18 U.S.C. § 1343, has four elements:

(1) that the defendant voluntarily and intentionally devised a scheme to defraud

another out of money or property; (2) that the defendant did so with intent to

defraud; (3) that it was reasonably foreseeable that interstate wire communications



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would be used; and (4) that interstate wire communications were used. The attempt

version of the statute provides that penalties apply to attempts as well as offenses.

18 U.S.C. § 1349.

      127. Trulieve’s scheme or artifice to defraud consists of the false and

misleading statements in its privacy policy described herein.

      128. Trulieve acted with intent to defraud in that it willfully invaded and

took Plaintiff’s and the Class members’ property, including the property rights to

their individually identifiable health information and their right to determine

whether such information remains confidential; the right to determine who may

collect and use such information for marketing; and the right to determine who has

access to their devices and communications.

      129. Trulieve also acted with intent to defraud in that it willfully invaded

and took Plaintiff’s and the Class members’ property (their PHI and PII) with

knowledge that it lacked consent or authorization to do so; a reasonable consumer

would not understand that Trulieve was collecting and transmitting their data to

third parties; a reasonable consumer would be shocked to realize the extent of

Trulieve’s disclosure of data to third parties; and the subsequent use of health

information for marketing was a further invasion in that the use was not related to

any healthcare.

      130. Trulieve acted with the intent to acquire, use, and disclose Plaintiff’s



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and the Class members’ PII and PHI without their authorization or consent.

      131. Plaintiff and the Class members have suffered damages because of

Trulieve’s violations of ECPA, including that (1) Trulieve eroded the essential,

confidential nature of the relationship between Trulieve and its customers, (2)

Trulieve failed to provide Plaintiff and the Class members with the full value of the

services for which they paid, which included a duty to maintain confidentiality and

protect privacy, (3) Trulieve derived valuable benefits from using and sharing

Plaintiff’s and the Class members’ communications without their knowledge or

informed consent and without providing compensation, (4) Trulieve’s actions

deprived Plaintiff and the Class members of the value of their PII and PHI, (5)

Trulieve’s actions diminished the value of Plaintiff’s and the Class members’

property rights in their PII and PHI; and (6) Trulieve violated Plaintiff’s and the

Class members’ privacy rights by sharing their PII and PHI for commercial use.

      132. Plaintiff and the Class members seek appropriate declaratory or

equitable relief including injunctive relief, actual damages and profits enjoyed by

Trulieve as a result of violations or the appropriate statutory measure of damages,

punitive damages, and reasonable attorneys’ fees and costs. 18 U.S.C. § 2520.

Pursuant to 18 U.S.C. § 2520, Plaintiff and the Class members seek monetary

damages for the greater of (i) the sum of the actual damages suffered by the plaintiff

and any profits made by UCMC as a result of the violation or (ii) statutory damages



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of whichever is greater of $100 a day for each violation or $10,000.

      133. Unless enjoined, Trulieve will continue to commit the violations of law

described herein.

                            EIGHTH CAUSE OF ACTION

        COMMON LAW PUBLIC DISCLOSURE OF PRIVATE FACTS

                    (On behalf of Plaintiff and the Nationwide Class)

                                  (Against Defendant)

      134. Plaintiff re-alleges and incorporates paragraphs 1 through 58 with the

same force and effect as if fully restated herein.

      135. In Florida, a claim for public disclosure of private facts requires the

following elements: (1) the publication, (2) of private facts, (3) that are offensive,

and (4) are not of public concern.

      136. Defendant disclosed Plaintiff’s and Class members’ sensitive and

private information, including their PII and PHI, to numerous third-party entities

without their consent, constituting a “publication” under Florida law.

      137. The disclosed information includes highly private facts such as

medical marijuana cardholder status, purchasing history, and geolocation data, all

of which pertain to personal health and medical treatment and are inherently private.

      138. The publication of this information is offensive to a reasonable person

because it involves the unauthorized dissemination of sensitive medical and



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personal data, which is protected under social norms and privacy expectations, and

is particularly stigmatized given the nature of medical marijuana use.

      139. The private information disclosed by Defendant is not of legitimate

public concern. Plaintiff’s and Class members’ use of medical marijuana and related

transactions hold no relevance to public interest and should remain confidential.

      140. Defendant’s publication of Plaintiff's and Class members’ private facts

to third-party entities was done knowingly, intentionally, or recklessly, and without

proper safeguards to protect this sensitive information.

      141. The publication of Plaintiff's and Class members’ private facts to

advertisers and other entities made the information accessible in a manner that

created a substantial likelihood of further dissemination, satisfying Florida’s

requirement for liability, even if the information may have initially been shared with

a limited audience.

      142. As a result of Defendant’s conduct, Plaintiff and Class members

suffered harm, including emotional distress, reputational harm, invasion of privacy,

and the diminution in value of their personal information.

      143. Plaintiff and Class members are entitled to recover damages to

compensate them for the harm caused by Defendant’s conduct, including but not

limited to actual, nominal, and punitive damages, as well as the disgorgement of

profits obtained by Defendant from the use or sale of their private facts.



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      144. Plaintiff and Class members also seek injunctive relief to prevent

Defendant from continuing to disclose their private facts and to require Defendant

to implement appropriate data privacy safeguards.

      145. Plaintiff further seeks all other relief that the Court deems just and

proper.

   VI.    DEMAND FOR RELIEF

   WHEREFORE, Plaintiff on behalf of himself and the proposed Class respectfully

requests that the Court enter an order:

   A. Certifying the Class and appointing Plaintiff as the Class’s representatives;

   B. Finding that Defendants’ conduct was unlawful, as alleged herein;

   C. Awarding declaratory relief against Defendants;

   D. Awarding such injunctive and other equitable relief as the Court deems just

      and proper, including injunctive relief;

   E. Awarding Plaintiff and the Class members statutory, actual, compensatory,

      consequential, punitive, and nominal damages, as well as restitution and/or

      disgorgement of profits unlawfully obtained;

   F. Awarding Plaintiff and the Class members pre-judgment and post-judgment

      interest;

   G. Awarding Plaintiff and the Class members reasonable attorneys’ fees, costs,

      and expenses; and



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   H. Granting such other relief as the Court deems just and proper.

   VII. JURY TRIAL DEMANDED

      1.     Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a jury trial as to all issues triable by a jury.




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DATED: December 26, 2024                Respectfully submitted,

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